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  A plaintiff in a civil action “bears the burden of establishing subject matter jurisdiction.” "TIPGG W $JUZ PG
  6LJBI, 130 F.3d 409, 410 (9th Cir. 1997). Additionally, a complaint may be dismissed for: (1) the lack of a
  cognizable legal theory; or (2) the absence of sufficient facts alleged under a cognizable legal theory. 4FF
  3PCFSUTPO W %FBO 8JUUFS 3FZOPMET *OD, 749 F.2d 530, 533-34 (9th Cir. 1984).

  Plaintiff’s Complaint and Civil Cover Sheet indicate she purportedly relies on federal-question jurisdiction
  under 42 U.S.C. § 1985(3). (Complaint, Docket No. 1 at 1-2; Civil Cover Sheet, Docket No. 1-1 at 1).
  Section 1985(3) “provides a cause of action if two or more persons conspire to deprive an individual of <IFS>
  constitutional rights.” 1BTBEFOB 3FQVCMJDBO $MVC W 8FTUFSO +VTUJDF $FOUFS, 985 F.3d 1161, 1171 (9th Cir.
  2021). “The elements of a § 1985(3) claim are: (1) the existence of a conspiracy to deprive the plaintiff of the
  equal protection of the laws; (2) an act in furtherance of the conspiracy and (3) a resulting injury.” "EEJTV W
  'SFE .FZFS *OD, 198 F.3d 1130, 1141 (9th Cir. 2000). “A claim under this section must allege facts to
  support the allegation that defendants conspired together. A mere allegation of conspiracy without factual
  specificity is insufficient.” ,BSJN1BOBIJ W -PT "OHFMFT 1PMJDF %FQU, 839 F.2d 621, 626 (9th Cir. 1988)

  Here, Plaintiff’s largely incomprehensible, rambling Complaint makes no attempt to show a conspiracy—
  and indeed does not even use the word “conspiracy”—let alone establish any of the elements under
  § 1985(3). Instead, 1MBJOUJGG states random legal words, such as “false arrest,” “negligence resulting in
  intentional unmistakable tort,” “wrongful death,” “attempted murder,” “color of law,” and cites various
  Constitutional amendments and a state penal code without any explanation of who did what to her, when
  and where, and how she suffered a cognizable injury. (Docket No. 1 at 1-2). This is insufficient to establish
  jurisdiction in this Court or state a comprehensible cause of action.

  Moreover, Plaintiff simply checking the box on her Civil Cover Sheet purportedly indicating the U.S.
  Government is a defendant (Docket No 1-1 at 1), is JOsufficient to confer jurisdiction on this Court. 4FF
  1FBWZ W 5IF 1FPQMF, 2016 WL 1383007, at *1 (S.D. Cal. Apr. 6, 2016) (simply checking box on civil cover
  sheet indicating the U.S. Government is a defendant is insufficient to confer jurisdiction where there is no
  mention of that defendant or any federal claim in the complaint).

  Accordingly, the action is DISMISSED for lack of jurisdiction, and because it is frivolous and fails to state a
  claim upon which relief can be granted. 4FF "OEFSTPO W 4Z, 486 F. App’x 644 (9th Cir. 2012) (district court
  properly dismissed as frivolous where “the complaint contains indecipherable facts and unsupported legal
  assertions”); -PQF[ W 4NJUI, 203 F.3d 1122, 1128 n.8 (9th Cir. 2000) (en banc) (“[w]hen a case may be
  classified as frivolous or malicious, there is, by definition, no merit to the underlying action and so no reason
  to grant leave to amend.”). In light of this dismissal, Plaintiff’s request to proceed JO GPSNB QBVQFSJT is
  DENIED.




                                                                                          (attach additional pages if necessary)

CV-73 (07/22)             ORDER ON REQUEST TO PROCEED IN FORMA PAUPERIS (NON-PRISONER CASE)
